        Case 2:23-cv-01043-JWH-KES Document 61 Filed 05/26/23 Page 1 of 4 Page ID #:1009
Name and address:
                 Christina N. Goodrich (SBN 261722)
                           K&L GATES LLP
               10100 Santa Monica Boulevard, 8th Floor
                    Los Angeles, California 90067

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER
Entropic Communications, LLC
                                                         Plaintiff(s),                            2:23-cv-01043-JWH-KES

                  v.
                                                                               APPLICATION OF NON-RESIDENT ATTORNEY
DISH Network Corporation, et al.                                                     TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                         PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Summerfield, George C.
Applicant's Name (Last Name, First Name & Middle Initial)                                           check here if federal government attorney
K&L Gates LLP
Firm/Agency Name
70 W. Madison Street, Suite 3100                                         (312) 807-4376                         (312) 827-8000
                                                                         Telephone Number                       Fax Number
Street Address
Chicago, IL 60602                                                                           george.summerfield@klgates.com
City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:
Entropic Communications, LLC                                             ✖   Plaintiff(s)     Defendant(s)     Other:
                                                                             Plaintiff(s)     Defendant(s)     Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                   Name of Court                         Date of Admission             Active Member in Good Standing? (if not, please explain)
State Bar of Michigan                                      11/24/1987                Yes
U.S. Court of Appeals, Federal Circuit                     10/05/1992                Yes
(continued in Section IV)

G-64 (09/20)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 of 3
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 List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
 needed):
         Case Number                                     Title ofAction                             Date ofApplication        Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
   N/A




Attorneys must be registered for the Court’s electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated May 25, 2023                                    CleorgejI-Suirnnerfieid_________________
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SECTION III - DESIGNATION OF LOCAL COUNSEL
Goodrich, Christina N.
Designee's Name (Last Name, First Name & Middle Initial)
K&L Gates LLP
Firm/Agency Name
 10100 Santa Monica Boulevard, 8th Floor                           (310) 552-5547                        (310) 552-5001
                                                                   Telephone Number                      Fax Number
Street Address                                                     christina.goodrich@klgates.com
Los Angeles, CA 90067                                              Email Address
City, State, Zip Code                                              261722
                                                                   Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.

               Dated May 26, 2023                                  Christina N. Goodrich




SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  U.S. District Court, Eastern District of Michigan - Admitted 10/30/1996 - Active Member in Good Standing
  U.S. District Court, Northern District of Illinois - Admitted 07/11/1997 - Active Member in Good Standing
  U.S. District Court, Eastern District of Texas - Admitted 05/26/2004 - Active Member in Good Standing
  U.S. Court of Appeals, District of Columbia - Admitted 0l/15/2020 - Active Member in Good Standing




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